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AO 442 (Rev 11/11} Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
v. ) Case: 1:21-mj-00118
Jesus Rivera Assigned to: Judge Zia M. Faruqui
. . ; Assign Date: 1/19/2021
(AKA: JD Rivera, Jesus Delamora Rivera) Description: COMPLAINT W/ARREST WARRANT
)

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Jesus Rivera ;
who is accused of an offense or violation based on the following document filed with the court:

OG Indictment f Superseding Indictment Ol Information (© Superseding Information BJ Complaint
Probation Violation Petition (J Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

18 USC § 1752(aX{1) Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority
18 USC § 1752(a)(2) Knowingly, With Intent to Impede Government Business or Official Functions, Engaging in
Disorderly Conduct on Capitol Grounds

40 USC § 5104(e)(2)(D) Engaging in Disorderly or Disruptive Conduct on Capitol Buildings or Grounds

40 USC § 5104(e)(2)(G) Parading, Demonstrating, or Picketing in the Capitol Buildings

4 x 2021.01.19
Date: 01/19/2021 —~ 13:11:51 -05'00"
issuing officer's signature

City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title

 

 

 

Return

 

This warrant was received on (date) (419/208 _ , and the person was arrested on (date) f2e/tez]
at (city and state) P CASIECONS Zé - z .

Date: (422/2Ozf VPM MO
Arresting officer's signature

Specs ar Alex Mosuciets T°

Printed name and titfe

 

 
